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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
                                                           :
UNITED STATES OF AMERICA                                   :
                                                           :   Affirmation of Danielle Sassoon
                -v.-                                       :
                                                           :
 RYAN SALAME,                                              :
                                                           :   S7 22 Cr. 673 (LAK)
                                                           :
                                     Defendant.            :
 ----------------------------------------------------------X


          Danielle R. Sassoon, pursuant to Title 28, United States Code, Section 1746, hereby

 declares under penalty of perjury:

          1.      I am an Assistant United States Attorney in the United States Attorney’s Office

 for the Southern District of New York. I respectfully submit this affirmation in support of the

 Government’s opposition to Ryan Salame’s petition for a writ of error coram nobis.

          2.      Attached hereto as Exhibit 1 is a true and correct copy of Court Exhibit B, which

 is Ryan Salame’s signed plea agreement.

          3.      Attached hereto as Exhibit 2 is a true and correct copy of contemporaneous notes

 from an April 28, 2023 videoconference between AUSAs Danielle Kudla, Samuel Raymond,

 Thane Rehn, Andrew Rohrbach, and Danielle Sassoon, and Ryan Salame and Michelle Bond’s

 prior attorneys.
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      4.     Attached hereto as Exhibit 3 is a true and correct copy of contemporaneous notes

from a May 25, 2023 call between AUSAs Danielle Sassoon, Nicolas Roos, and Samuel

Raymond, and Ryan Salame and Michelle Bond’s prior attorneys.



   Dated:    New York, New York
             September 5, 2024




                                          _______________________
                                          Danielle R. Sassoon
                                          Assistant United States Attorney
                                          Tel: 212-637-1115
